      Case 4:04-cr-00147-BRW           Document 597        Filed 09/28/07      Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

RACHEL JUVERA

V.                                    4:04CR00147-10-WRW
                                        4:07CV00838-WRW

UNITED STATES OF AMERICA


                                              ORDER

       Pending is Petitioner’s Motions to Vacate Under 28 U.S.C. § 2255 (Doc. No. 593).

       I.      BACKGROUND

       On March 24, 2006, Petitioner pled guilty to Count 1 of the Fifth Superseding Indictment --

conspiracy to distribute more than 1,000 kgs or marijuana, a violation fo 21 U.S.C. §§ 841(a)(1)

and 846.1 On July 6, 2006, Petitioner was sentenced to 121 months in prison.2 Petitioner did not

file an appeal with the Eighth Circuit Court of Appeals.

       II.     DISCUSSION

       There is a one-year status of limitations for actions brought under 28 U.S.C. § 2255.3 Since

Petitioner did not file an appeal with the Eighth Circuit Court of Appeals, her one-year period to

file a § 2255 motion began on July 16, 20064 and expired on July 16, 2007. Petitioner’s motion is

dated August 5, 2007.5


       1
        Doc. No. 401.
       2
        Doc. No. 486.
       3
        28 U.S.C. § 2255, ¶6.
       4
        Unappealed federal criminal judgments become final when the time for filing a direct
appeal expires. See Moshier v. United States, 402 F.3d 116, 118 (2d Cir. 2005).
       5
        The motion was received by the Clerk of the Court and filed on September 13, 2007.

                                                  1
       Case 4:04-cr-00147-BRW             Document 597       Filed 09/28/07      Page 2 of 2




        Petitioner admits that her motion “is in excess of the statutory period” for filing a habeas

petition, but blames this delay on “her inability to understand the law of the United State and not

having an effective counsel.”6 Neither excuse, without more, is sufficient to warrant equitable

tolling of the statute of limitations.7

                                            CONCLUSION

        Since it was filed after the expiration of limitations provisions of § 2255, Petitioner’s

Motions to Vacate Under 28 U.S.C. § 2255 (Doc. No. 593) is DENIED.

        IT IS SO ORDERED this 28th day of September, 2007.



                                                             /s/Wm. R. Wilson, Jr.
                                                       UNITED STATES DISTRICT JUDGE




        6
         Doc. No. 593.
        7
         See United States v. Martin, 408 F.3d 1089 (8th Cir. 2005).

                                                   2
